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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY



 IN RE: JOHNSON & JOHNSON TALCUM                  DOCKET # 3:16-md-2738 (FLW) (LHG)
 POWDER PRODUCTS MARKETING,
 SALES PRACTICES AND PRODUCTS
 LIABILITY LITIGATION
                                                  JUDGE FREDA L. WOLFSON
 THIS DOCUMENT RELATES TO:
 ALL CASES                                        MAG. JUDGE LOIS H. GOODMAN



         APPLICATION FOR APPOINTMENT OF RICAHRD L. ROOT TO THE
                MDL-2738 PLAINTIFFS’ STEERING COMMITTEE


        Considering the forgoing application of Richard L. Root to be named to the Plaintiffs

 Steering Committee of MDL-2738, the Court approves the application.

 IT IS SO ORDERED

 Dated: ___________________ _______________________________
        HON. FREDA L. WOLFSON
